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AO 245 B (Rev. O6/O5)(W.D.TX.   Judgment in a Criminal Case
                                                                                                              F   I   LED
                                        UNITED STATES DISTRICT COURT                                              UG     29   2013

                                             Western District of Texas                                                  DISTRICT COURT
                                                         SAN ANTONIO DIVISION                                          ISTRICT OF TEXAS
                                                                                                      BY
UNITED STATES OF AMERICA

                                                                        Case Number      SA-11-CR-425(2)FB
                                                                        USM Number       07416-090
DEKAABDALLA SHEIKH,
Aliases: Deka Denashe; Deka Abdalla Sheikh Ibrahim; Hajji Abdel Sheikh Ibrahim; Deka Abdall A Sheikh
Ibrahim; Deka Abdall Sheikh lbrahim; Deka Abdullah Sheikh; Deka A. Sheikh-lbrahim

       Defendant.
                                                              *FIRST AMENDED
                                              JUDGMENT IN A CRIMINAL CASE
                                      (For Offenses Committed On or After November 1, 1987)
                                            (*Amended to correct the defendant number)



         The defendant, DEKA ABDALLA SHEIKH, Aliases: Deka Denashe; Deka Abdalla Sheikh Ibrahim; Hajji Abdel Sheikh
Ibrahim; Deka Abdall A Sheikh Ibrahim; Deka Abdall Sheikh Ibrahim; Deka Abdullah Sheikh; Deka A. Sheikh-lbrahim, was
represented by Mr. Javier N. Maldonado, Esquire.

         On motion of the United States, the Court has dismissed the remaining counts as to this defendant.

        The defendant pled guilty to Count(s) Two of the Indictment on September 20, 2012. Accordingly, the defendant is
adjudged guilty of such Count(s), involving the following offense(s):


Title & Section             Nature of Offense                                   Offense Ended                         Count (s)

18 USC 371 & 1001           Conspiracy to Make False Statements to              Date of this Indictment               Two
                            Executive Branch in Terrorism Investigation         (May 25, 2011)

        As pronounced on July 24, 2013, the defendant is sentenced as provided in pages 2 through 6 of this Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984. *This judgment is amended to correct the defendant
number pursuant to USPOs request.

         It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
Judgment are fully paid. If ordered to pay restitution, the defendant shall notify the Court and United States Attorney of any
material change in the defendant's economic circumstances.

         Signed this the            day of August, 2013.




                                                                                      FRED BIERY )'1:::
                                                                          CHIEF UNITED STATESp.I.StRICT JUDGE
                                                                                                 /Z
                         Case 5:11-cr-00425-FB Document 195 Filed 08/29/13 Page 2 of 6
AO   245 B (Rev. 06/05)(W.D.TX.)   Probation



                                                                                                             Judgment--Page 2
Defendant: DEKA ABDALLA SHEIKH, Aliases: Deka Denashe; Deka Abdalla Sheikh Ibrahim; (see page 1)
Case Number: SA-11-CR-425(2)FB

                                                           PROBATION

           The defendant is hereby placed on supervised probation for a term of 5 years.

        While on probation, the defendant shall comply with the mandatory, standard and if applicable, the special conditions
that have been adopted by this Court.

                    The defendant shall not have any contact with the co-defendant or his family members.
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 AO 245 B (Rev. 05/04)(W.D.TX.) Suoervised Release


                                                                                                                           Judgment--Page 3
 Defendant: DEKA ABDALLA SHEIKH, Aliases: Deka Denashe; Deka Abdalla Sheikh Ibrahim; (see page 1)
 Case Number: SA-11-CR-425(2)FB
                                          CONDITIONS OF PROBATION
 Mandatory Conditions:
 1)    The defendant shall not commit another federal, state, or local crime during the term of supervision.

 2)    The defendant shall not unlawfully possess a controlled substance.

 3)    The defendant shall refrain from any unlawful use of a controlled substance. The defendant
                                                                                                      shall submit to one drug test within
       15 days of release on probation or supervised release and at least two periodic drug
                                                                                             tests thereafter (as determined by the court)
       for use of a controlled substance, but the condition stated in this paragraph may be ameliorated or
                                                                                                             suspended by the court if the
       defendant's presentence report or other reliable sentencing information indicates low risk of future substance abuse
                                                                                                                              by the
       defendant.

4)     In supervised release cases only, the defendant must report to the probation office in the
                                                                                                  district to which the defendant is
       released within 72 hours of release from custody of the Bureau of Prisons.

5)     If convicted of a felony, the defendant shall not possess a firearm, ammunition, destructive
                                                                                                    device, or any other dangerous
       weapon.

6)     The defendant shall cooperate in the collection of DNA as directed by the probation officer, if
                                                                                                       the collection of such a sample is
       authorized pursuant to section 3 of the DNA Analysis Backlog Elimination Act of 2000 (42 U.S.C. 141
                                                                                                           §      35a).
7)     If convicted of a sexual offense and required to register under the Sex Offender and
                                                                                            Registration Act, that the defendant comply
      with the requirements of the Act.

8)     If convicted of a domestic violence crime as defined in 18 U.S.C. 3561(b), the defendant shall
                                                                        §                             participate in an approved
       program for domestic violence.

9)    If the judgment imposes a fine or restitution, it is a condition of supervision that the
                                                                                               defendant pay in accordance with the
      Schedule of Payments sheet of the judgment.

Standard Conditions:

1)    The defendant shall not leave the judicial district without permission of the court or
                                                                                             probation officer.
2)    The defendant shall report to the probation officer in a manner and frequency directed by the
                                                                                                    court or probation officer.
3)    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
                                                                                                               of the probation officer.
4)    The defendant shall support his or her dependents and meet other family obligations, and shall
                                                                                                     comply with the terms of any court
      order or order of an administrative process requiring payments by the defendant for the support and
                                                                                                          maintenance of a child or of a
      child and the parent with whom the child is living.

5)    The defendant shall work regularly at a lawful occupation, unless excused by the probation
                                                                                                 officer for schooling, training, or other
      acceptable reasons.

6)    The defendant shall notify the probation officer at least ten days prior to any change in
                                                                                                residence or employment.
7)    The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
                                                                                                         distribute, or administer any
      controlled substance or any paraphernalia related to any controlled substances, except as prescribed by
                                                                                                                   a physician.
8)    The defendant shall not frequent places where controlled substances are illegally sold, used,
                                                                                                    distributed, or administered.
9)    The defendant shall not associate with any persons engaged in criminal activity and shall not
                                                                                                    associate with any person convicted
      of a felony, unless granted permission to do so by the probation officer.
10)   The defendant shall permit a probation officer to visit him or her at anytime, at home or elsewhere,
                                                                                                           and shall permit confiscation
      of any contraband observed in plain view of the probation officer.

11)   The defendant shall notify the probation officer within seventy-two hours of being arrested or
                                                                                                     questioned by a law enforcement
      officer.
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AO    245 B (Rev. 05/04'(W.D.TX.'j     Supervised Release

                                                                                                                         Judgment--Page 4
Defendant: DEKA ABDALLA SHEIKH, Aliases: Deka Denashe; Deka Abdalla Sheikh Ibrahim; (see page 1)
Case Number: SA-11-CR-425(2)FB

12)   The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the court.

13)   As directed by the probation officer, the defendant shall notify third parties of risks that my be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications, and to
      confirm the defendant's compliance with such notification requirement.

14)   If convicted of a sex offense as described in the Sex Offender Registration and Notification Act or has a prior conviction of a State
      or local offense that would have been an offense as described in the Sex Offender Registration and Notification Act if a
      circumstance giving rise to federal jurisdiction had existed, the defendant shall participate in a sex offender treatment program
      approved by the probation officer. The defendant shall abide by all program rules, requirements and conditions of the sex
      offender treatment program, including submission to polygraph testing, to determine if the defendant is in compliance with the
      conditions of release. The defendant may be required to contribute to the cost of the services rendered (copayment) in an amount
      to be determined by the probation officer, based on the defendant's ability to pay.

15)   The defendant shall submit to an evaluation for substance abuse or dependency treatment as directed by the probation officer,
      and if deemed necessary by the probation officer, the defendant shall participate in a program approved by the
                                                                                                                     probation officer
      for treatment of narcotic addiction or drug or alcohol dependency which may include testing and examination to determine if the
      defendant has reverted to the use of drugs or alcohol. During treatment, the defendant shall abstain from the use of alcohol and
      any and all intoxicants. The defendant may be required to contribute to the cost of the services rendered (copayment) in an
      amount to be determined by the probation officer, based upon the defendant's ability to pay.
16)   The defendant shall submit to an evaluation for mental health counseling as directed by the probation officer, and if deemed
      necessary by the probation officer, the defendant shall participate in a mental health program approved by the probation officer.
      The defendant may be required to contribute to the cost of the services rendered (copayment) in an amount to be determined
                                                                                                                                     by
      the probation officer, based upon the defendant's ability to pay.

17)   The defendant shall participate in a cognitive behavioral treatment program as directed by the probation officer, and if deemed
      necessary by the probation officer. Such program may include group sessions led by a counselor or participation in a program
      administered by the probation office. The defendant may be required to contribute to the cost of the services rendered
      (copayment) in an amount to be determined by the probation officer, based upon the defendant's ability to pay.

18)   The defendant shall participate in workforce development programs and services as directed by the probation officer, and if
      deemed necessary by the probation officer, which include occupational/career development, including but not limited to
      assessment and testing, education, instruction, training classes, career guidance, job search and retention services until
      successfully discharged from the program. The defendant may be required to contribute to the cost of the services rendered
      (copayment) in an amount to be determined by the probation officer, based upon the defendant's ability to pay.

19)   If the defendant is excluded, deported, or removed upon release on probation or supervised release, the term of supervision shall
      be a non-reporting term of probation or supervised release. The defendant shall not illegally reenter the United States. If the
      defendant lawfully reenters the United States during the term of probation or supervised release, the defendant shall immediately
      report in person to the nearest U.S. Probation Office.

20)   If the judgment imposes other criminal monetary penalties, it is a condition of supervision that the defendant pay such
                                                                                                                              penalties in
      accordance with the Schedule of Payments sheet of the judgment.

21)   If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
      supervision that the defendant shall provide the probation officer access to any requested financial information.

22)   If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
      supervision that the defendant shall not incur any new credit charges or open additional lines of credit without the approval of the
      probation officer, unless the defendant is in compliance with the payment schedule.
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AO 245   B (Rev. 05/04)(W.D.TX.) Supervised Release


                                                                                                                          Judgment--Page 5
Defendant: DEKAABDALLA SHEIKH, Aliases: Deka Denashe; Deka Abdalla Sheikh
                                                                          Ibrahim; (see page 1)
Case Number: SA-11-CR-425(2)FB

The Court further adopts such of the following special conditions applied to the
                                                                                 supervised person by the judge at the time of
sentencing:

1)   Community Confinement: The defendant shall reside in a Community Corrections Center for a period of        months to
     commence on ____________. Further, once employed, the defendant shall pay 25% of his/her weekly
                                                                                                      gross income for his/her
     subsistence as long as that amount does not exceed the daily contract rate.

     Location Monitoring Program:
2)   Radio Frequency Monitoring: The defendant shall participate in the Location
                                                                                        Monitoring Program with Radio Frequency
     Monitoring for a period of          days/months. You shall abide by the rules and regulations of the Participant Agreement Form.
     During this time, you will remain at your place of residence except for employment and other
                                                                                                      activities approved in advance by
     your probation officer. You will maintain a telephone at your place of residence without "caller
                                                                                                        ID," "call forwarding," 'call waiting,"
     "call back/call block," a modem or a portable cordless telephone for the above period as
                                                                                                 directed by the probation officer. You will
     wear an electronic monitoring device and follow location monitoring procedures specified by your
                                                                                                           probation officer. You shall pay
     all or part of the costs of the program based on the ability to pay as directed by the
                                                                                            probation officer.
3)   Global Positioning Satellite (GPS): The defendant shall participate in the Location Monitoring Program for
                                                                                                                a term not to exceed
            days/months, which will include remote location monitoring using         Active        Passive Global Positioning Satellite
     (GPS) tracking. You shall abide by the rules and regulations of the Participant Agreement Form.
                                                                                                             During this time, you will remain
     at your place of residence except for employment and other activities approved in
                                                                                          advance by your probation officer. You will
     maintain a telephone at your place of residence without "caller ID," "call forwarding," "call
                                                                                                   waiting," "call back/call block," a modem
     or a portable cordless telephone for the above period as directed by the probation
                                                                                           officer. At the direction of the probation officer,
     you shall wear a transmitter and be required to carry a tracking device. You shall
                                                                                          pay all or part of the costs of the program based
     on the ability to pay as directed by the probation officer.

4)   Community Service: The defendant shall perform             hours of community service work without pay, at a location approved by
     the probation officer, at a minimum rate of four hours per week, to be completed during
                                                                                             the first     months of supervision.
5)   Sex Offender Search & Seizure Condition: If required to register under the Sex Offender
                                                                                                     Registration and Notification Act, the
     defendant shall submit his person, and any property, house, residence, vehicle, papers, computer,
                                                                                                            other electronic communication
     or data storage devices or media, and effects to search at any time, with or without a warrant, by
                                                                                                          any law enforcement or probation
     officer with reasonable suspicion concerning a violation of a condition of probation or
                                                                                              supervised release or unlawful conduct by
     the person, and by any probation officer in the lawful discharge of the officer's supervision
                                                                                                   functions.
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                                      CMP -
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                                                                                                                                                                    Judgment--Page 6
  Defendant: DEKA ABDALLA SHEIKH, Aliases: Deka Denashe; Deka Abdalla Sheikh
                                                                             Ibrahim; (see page 1)
  Case Number: SA-11-CR-425(2)FB

                                                          CRIMINAL MONETARY PENALTIES/ SCHEDULE

            The defendant shall pay the following total criminal monetary penalties in accordance
                                                                                                   with the schedule of payments
  set forth. Unless the Court has expressly ordered otherwise, if this judgment imposes
                                                                                           imprisonment, payment of criminal
  monetary penalties is due during imprisonment. Criminal Monetary Penalties, except those
                                                                                                 payments made through Federal
  Bureau of Prisons' Inmate Financial Responsibility Program shafl be paid through the
                                                                                          Clerk, United States District Court, 655 E.
  Cesar E. Chavez Blvd, Room G-65, San Antonio, Texas 78206.
            The defendant shall receive credit for all payments previously made toward any criminal
                                                                                                      monetary penalties imposed.
                                                   Assessment                                     Fine                                            Restitution
    TOTAL:                                         $100.00                                        $0                                              $0

                                                                                Special Assessment
              It is ordered that the defendant shall pay to the United States a special
                                                                                        assessment of $100.00.

                                                                                             Fine

              The fine is waived because of the defendant's inability to pay.


                                                                              Schedule of Payments

         Payment shall be made at the rate of no less than $10.00 per month, due by the third day of
                                                                                                       each month beginning
 immediately. The Court imposed payment schedule shall not prevent statutorily authorized
                                                                                            collection efforts by the U.S.
 Attorney. The defendant shall cooperate fully with the U.S. Attorney and the U.S.
                                                                                   Probation Office to make payment in full as
 soon as possible.




           If the defendant makes a partial payment, each payee shall receive an approximately
                                                                                               proportioned payment, unless specified otherwise in the priority order or
percentage payment column above. However, pursuant to 18 U.S.C. 3664(i), all non-federal
                                                                   §                        victims must be paid before the United States is paid.
            If the fine is not paid, the court may sentence the defendant to any sentence which
                                                                                                might have been originally imposed. See 18 U.S.C. §3614.
           The defendant shall pay interest on any fine or restitution of more than
                                                                                    $2500.00, unless the fine or restitution is paid in full before the fifteenth day after the date of
the judgment, pursuant to 18 U.S.C. §361 2(f). All payment options may be subject
                                                                                     to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

             Payments shall be applied in the following order: (1) assessment, (2) restitution principal,
                                                                                                          (3) restitution interest, (4) fine principal, (5) community restitution, (6) fine
interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.

            Findings for the total amount of losses are required under Chapters 1 09A, 110,      11 OA,   and 11 3A of Title 18 for offenses committed on or after September 13,
but before April 23, 1996.                                                                                                                                                          1   994,
